                                                                          Case 2:17-cv-03007-APG-VCF Document 323 Filed 09/25/20 Page 1 of 4


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                                                                     19
                                                                                                            UNITED STATES DISTRICT COURT
                                                                     20                                          DISTRICT OF NEVADA
                                                                     21
                                                                           DIAMOND RESORTS U.S. COLLECTION                    Case No.: 2:17-cv-03007-APG-VCF
                                                                     22    DEVELOPMENT, LLC, a Delaware Limited
                                                                           Liability Company,
                                                                     23
                                                                                                     Plaintiff,                  STIPULATION AND ORDER TO
                                                                     24                                                        EXTEND DEADLINE TO FILE REPLY
                                                                                   v.
                                                                     25                                                           IN SUPPORT OF MOTION TO
                                                                           REED HEIN & ASSOCIATES, LLC d/b/a                          COMPEL [ECF #278]
                                                                     26    TIMESHARE EXIT TEAM, a Washington
                                                                           Limited Liability Company; BRANDON REED,                      [Second Request]
                                                                     27    an individual and citizen of the State of
                                                                     28    Washington; TREVOR HEIN, an individual and
                                                                           citizen of Canada; THOMAS PARENTEAU, an

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                                                                           individual and citizen of the State of
                                                                      1    Washington; HAPPY HOUR MEDIA GROUP,
                                                                      2    LLC, a Washington Limited Liability Company;
                                                                           MITCHELL R. SUSSMAN, ESQ. d/b/a THE
                                                                      3    LAW OFFICES OF MITCHELL REED
                                                                           SUSSMAN & ASSOCIATES, an individual and
                                                                      4    citizen of the State of California; SCHROETER,
                                                                           GOLDMARK & BENDER, P.S., a Washington
                                                                      5
                                                                           Professional Services Corporation; and KEN B.
                                                                      6    PRIVETT, ESQ., a citizen of the State of
                                                                           Oklahoma,
                                                                      7
                                                                                                    Defendants.
                                                                      8
                                                                                   Pursuant to LR IA 6-1 and Fed. R. Civ. P. 6(b)(1)(A) (“FRCP”), Plaintiff Diamond
                                                                      9
                                                                           Resorts U.S. Collection Development, LLC (“Plaintiff”), and Defendant Schroeter Goldmark &
                                                                     10
GREENSPOON MARDER LLP




                                                                           Bender, P.S. (“Defendant”) hereby stipulate to extend Plaintiff’s deadline to file a Reply in
                        Phone: (702) 978-4249/ Fax: (945) 333-4256




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                         3993 Howard Hughes Parkway, Suite 400




                                                                           support of Plaintiff’s Motion to Overrule SGB’s Privilege and Work Product Claims and Compel
                                                                     12
                                 Las Vegas, Nevada 89169




                                                                           Discovery [ECF #278] (the “Motion”), currently set for September 25, 2020 until September 28,
                                                                     13
                                                                           2020, and as grounds state as follows:
                                                                     14
                                                                                   1.     Plaintiff filed the Motion on August 11, 2020.
                                                                     15
                                                                                   2.     Defendant filed its Opposition on September 11, 2020, after a brief extension to
                                                                     16
                                                                           its response deadline.
                                                                     17
                                                                                   3.     As the Court is aware, the question of whether the attorney-client and work
                                                                     18
                                                                           product privileges apply in this case is a fundamental issue in discovery.
                                                                     19
                                                                                   4.     Defendant’s Opposition presents new documents, including a significant
                                                                     20
                                                                           supplements to Defendant’s privilege log that were served concurrently with Defendant’s
                                                                     21
                                                                           Opposition.
                                                                     22
                                                                                   5.     The Parties previously stipulated to extend Plaintiff’s dedline by one week to
                                                                     23
                                                                           evaluate the newly-disclosed documents, however Plaintiff has not been able to complete these
                                                                     24
                                                                           tasks as quickly as expected.
                                                                     25
                                                                                   6.     Diamond is working diligently on its Reply.
                                                                     26
                                                                                   7.     In order to adequately respond to Defendant’s Opposition, and the issues
                                                                     27
                                                                           presented therein, the Parties agree that Plaintiff’s deadline to file its Reply in support of the
                                                                     28


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                                                                      1    Motion be extended one (1) business day, up to and including September 28, 2020
                                                                      2            8.     This is the Parties’ second request for extension of this deadline, and it is not
                                                                      3    intended to cause any delay or prejudice to any party. Defendant does not object to the requested
                                                                      4    extension.
                                                                      5            Dated this 25th day of September, 2020
                                                                      6
                                                                           GREENSPOON MARDER, LLP                               LIPSON NEILSON, P.C.
                                                                      7
                                                                      8    /s/ Phillip A. Silvestri_______                      /s/ Megan H. Hummel, Esq. ____
                                                                           PHILLIP A. SILVESTRI, ESQ.                           JOSEPH P. GARIN, ESQ.
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                        Phone: (702) 978-4249/ Fax: (945) 333-4256




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                         3993 Howard Hughes Parkway, Suite 400




                                                                           Diamond Resorts Corporation                          Las Vegas, NV 89144-7052
                                                                     12
                                 Las Vegas, Nevada 89169




                                                                                                                                Attorneys for Defendant
                                                                     13                                                         Schroeter, Goldmark & Bender, P.S.
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                                                                                                                                IT IS SO ORDERED
                                                                     17
                                                                                                                                _________________________________
                                                                     18                                                         UNITED STATES MAGISTRATE
                                                                     19                                                         JUDGE

                                                                     20                                                                    9-25-2020
                                                                                                                                DATED: ______________
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                                                                      1                                     CERTIFICATE OF SERVICE
                                                                      2                 I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
                                                                      3    Court by using the CM/ECF system on this 25th day of September 2020. I also certify that the
                                                                      4    foregoing document is being served this day on all counsel of record or pro se parties identified
                                                                      5    on the Court’s Service List via transmission of Notices of Electronic Filing generated by
                                                                      6    CM/ECF. For any counsel or parties who are not are not authorized to receive Notices of
                                                                      7    Electronic Filing electronically, I certify that I served those parties via First Class U.S. Mail.
                                                                      8
                                                                      9
                                                                                                                          /s/ Phillip A. Silvestri
                                                                     10                                                   An employee of Greenspoon Marder LLP
GREENSPOON MARDER LLP

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                                 Las Vegas, Nevada 89169




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